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        December 27, 2024


        By Email
        The Honorable Gregory H. Woods
        United States District Court
        for the Southern District of New York
        Daniel Patrick Moynihan United States
        Courthouse
        500 Pearl Street, Room 2260
        New York, NY 10007

        Re:       USA v. Kostin, et al., Case No. 24-cr-00091-GHW

        Dear Judge Woods:

        On behalf of Defendant Vadim Wolfson, I write with the government’s consent to request that Mr.
        Wolfson’s deadline for submitting a reply brief to the government’s omnibus filing (ECF No. 93)
        be extended from January 6, 2024, to January 13, 2024. Co-defendant Gannon Bond has already
        requested and received an extension to January 13, 2024. See ECF No. 95. Granting Mr. Wolfson
        the same extension will create a uniform filing deadline. As further good cause, Mr. Wolfson
        requests the extension given the holidays in between the government’s omnibus filing and the
        present January 6 deadline, and also given the need to evaluate complex technical arguments that
        the government has made for the first time in Exhibits Q and R of its filing.

                                                      Respectfully submitted,

                                                      /s/ David Rybicki
                                                          David Rybicki

                                                     Counsel for Vadim Wolfson




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